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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

RITACCA COSMETIC SURGERY AND                           )
MED SPA, LTD., et al.,                                 )
                                                       )   Case No. 3:15-cv-50148
                                Plaintiffs,            )
                                                       )   Judge Frederick J. Kapala
                v.                                     )
                                                       )   Magistrate Judge Iain D. Johnston
CYNOSURE, INC.,                                        )
                                                       )
                                Defendant.
                                                       )

      DEFENDANT CYNOSURE, INC.’S REPLY BRIEF IN FURTHER
 SUPPORT OF ITS MOTION TO STRIKE PLAINTIFFS’ CLASS ALLEGATIONS

                                         INTRODUCTION

        Plaintiff’s Opposition pretends the Court’s prior opinion finding no jurisdiction over the

out-of-state class representatives’ claims had never been written. See Order (Jan. 16, 2018), ECF

No. 170. It merely re-urges the same losing arguments the Court rejected in that decision. But

the Court’s prior decision as to the nonresident class representatives is dispositive of the

nonresident absent class members’ claims here. The out-of-state absent class members lack the

same required connection to Illinois as their purported representatives, and the Court equally

lacks personal jurisdiction over those class members’ claims.

        That leaves this case as a putative Illinois statewide class action. Yet Cynosure has

produced evidence—which Plaintiff misreads but does not dispute—that there are only 19

purchasers in Illinois. Plaintiff’s conclusory and unsupported arguments concerning the class

members’ geographic location and judicial economy are insufficient to carry its burden to show

that it would be impracticable to join these 19 purchasers. Because the Court has no jurisdiction

over the nonresident class members’ claims and there are too few Illinois purchasers left to

justify a class action, the Court should strike Plaintiff’s class action allegations.


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                                          ARGUMENT

I.      PLAINTIFF FAILS TO CARRY ITS BURDEN OF ESTABLISHING PERSONAL JURISDICTION AS
        TO NONRESIDENT ABSENT CLASS MEMBERS.

        Plaintiff’s Opposition ignores this Court’s own decision finding no jurisdiction over the

out-of-state class representatives under Bristol-Myers Squibb Co. v. Superior Court of

California, San Francisco Cty., 137 S. Ct. 1773 (2017) (“BMS”). See ECF No. 170.

Defendants’ opening brief explained how this Court’s decision equally forecloses the claims of

absent class members who also reside out-of-state and similarly lack any connection with

Illinois. See Opening Br. at 3–5. Plaintiff offers no response whatsoever, failing to even cite the

Court’s prior ruling.

        Instead, Plaintiff rehashes the same arguments this Court already rejected. For example,

citing a pre-BMS case from an intermediate Colorado state appellate court, Plaintiff argues that

the nonresident class members’ claims “arise out of or relate to” forum contacts because their

claims are “similar” to those brought by the resident Plaintiff. See Opp. 6 (citing Etchieson v.

Cent. Purchasing, LLC, 232 P.3d 301, 308 (Colo. Ct. App. 2010)). But this Court previously

disposed of precisely that argument, explaining that “[t]hough the nonresidents’ claims are

similar to those of resident plaintiffs, the difference [between them] … is fundamental: the

events that lead to the nonresidents’ claim took place outside of Illinois.” ECF No. 170 at 4; see

also id. (“[A] defendant’s relationship with a … third party, standing alone, is an insufficient

basis for jurisdiction … even when third parties … can bring claims similar to those brought by

the nonresidents.”) (quoting BMS, 137 S. Ct. at 1781).

        Plaintiff likewise renews its unsuccessful attempt to distinguish BMS on the grounds that

more out-of-state plaintiffs were at issue in BMS than here. Compare Opp. at 9 (pointing to 592

out-of-state plaintiffs in BMS and six nonresidents here) with ECF No. 170 at 3 (“In an attempt to



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distinguish Bristol-Myers Squibb, plaintiffs point out that the number of nonresident plaintiffs

there was significantly greater than the number of nonresident plaintiffs here.”). This Court

squarely held, however, that “[t]he number of would-be nonresident plaintiffs has no bearing on

whether those plaintiffs’ claims arise from or relate to the defendant’s activity in the forum.”

ECF No. 170 at 4 (emphasis added). Just as before, Plaintiff makes no effort to establish that the

nonresidents’ claims “arise from or relate to” Cynosure’s forum contacts, which is the

fundamental Due Process requirement at the heart of BMS. See BMS, 137 S. Ct. at 1781 (“What

is needed—and what is missing here—is a connection between the forum and the specific claims

at issue.”). Plaintiff’s “lack of burden” argument therefore remains equally irrelevant to the

inquiry.

       Finally, Plaintiff does not address the multiple cases in this District that have applied

BMS to preclude specific jurisdiction over nonresident absent class members. See Opening

Br. 3−4 (discussing McDonnell v. Nature’s Way Prods., LLC, 2017 WL 4864910 (N.D. Ill. Oct.

26, 2017), and Demedicis v. CVS Health Corp., 2017 WL 569157 (N.D. Ill. Feb. 13, 2017)).

Adding to that growing weight of authority, two more cases recently came to the same

conclusion, following McDonnell and Demedicis. See Anderson v. Logitech, Inc., 2018 WL

1184729, *1 (N.D. Ill. Mar. 7, 2018) (striking putative nationwide class allegations); Practice

Mgmt. Support Servs., Inc. v. Cirque du Soleil, Inc., 2018 WL 1255021, *18 (N.D. Ill. Mar. 12,

2018) (excluding nonresidents from class definition due to lack of personal jurisdiction). Both

this Court’s prior opinion and those of its brethren thus point unswervingly towards a finding of

no jurisdiction.




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II.       PLAINTIFF HAS FAILED TO CARRY ITS BURDEN OF DEMONSTRATING THAT JOINDER OF
          19 ILLINOIS PURCHASERS WOULD BE IMPRACTICABLE.

          None of Plaintiff’s arguments carries its burden of satisfying the numerosity requirement

of Rule 23(a).

          Plaintiff gets the facts wrong in trying to show the class is not presumptively too small.

See Opp. 10−11. As explained in Cynosure’s moving declaration—and as is evident from the

sales data itself—there are 19 unique Illinois purchasers, not 21. While there are 21 entries on

the sales chart, that is because two purchasers bought multiple machines. See Gooch Decl. ¶ 4,

ECF No. 194-1 (noting 19 purchasers); id. Ex. B, ECF No. 194-3 (reflecting two purchases each

for Dr. Leon Tcheupdjian [Rows 3 and 19] and Solutions Laser Studio [Rows 16 and 20]). The

fact that a purchaser bought two PicoSure machines does not transform that purchaser into two

separate class members. If anything, repeat purchases suggest customers are happy with the

machine and would not want to sue. As a result, the number of putative class members falls

below what Plaintiffs themselves describe as the “presumptive floor” of 20.1

          Nor does Plaintiff explain why joinder of these few class members would be

impracticable. Plaintiff argues that the purchasers are “geographically dispersed throughout

Illinois.” Opp. 11. But the evidence submitted by Cynosure—which includes the address of

each Illinois purchaser—shows exactly the opposite. Of the 19 unique Illinois purchasers, 17 are

located within the Northern District of Illinois. See Gooch Decl. Ex. B, ECF No. 194-3.

Plaintiff makes no effort to explain why the two other Illinois purchasers could not be joined in




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      As explained in Cynosure’s opening brief, other courts in this District have applied a
presumptive floor of 25 class members. See Opening Br. at 6–7.



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this action. And Plaintiff cites no case suggesting that such a small minority of class members

who reside within the same state but different judicial district cannot practically be joined.2

       Moreover, Plaintiff argues in only the most conclusory and generic fashion that judicial

economy would be served by a class action. Plaintiff points to no facts or circumstances specific

to this case suggesting that joinder of the Illinois purchasers would create an undue burden on

either the parties or the Court. See Lyne v. Arthur Andersen & Co., 1991 WL 247576, at *2

(N.D. Ill. Nov. 12, 1991) (plaintiff has the burden “to specifically explain why joinder is

impracticable”). Indeed, Plaintiff does not dispute that the purchasers are businesses such as

dermatology practices, each of which entered into a commercial transaction to purchase a

medical device which costs in excess of $200,000. See Opening Br. 7. Plaintiff offers no

explanation why such a sophisticated purchaser could not as a practical matter bring an

individual claim, and therefore cannot satisfy its burden to establish numerosity. See Danis v.

USN Commc’ns, Inc., 189 F.R.D. 391, 399 (N.D. Ill. 1999) (plaintiff must show that joinder of

all class members would be “extremely difficult and inconvenient”).




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        Gaspar v. Linvatec Corp., 167 F.R.D. 51 (N.D. Ill. 1996) does not help Plaintiff. In that
case, the class members were spread across three states: Illinois, New Jersey, and Tennessee.
Id. at 57. Not so here. In addition, that class consisted of individuals who had been laid off and
brought federal Employee Retirement Income Security Act (“ERISA”) claims against their
employer. Here, as explained above, the putative class members are businesses and parties to a
commercial transaction rather than laid-off employees.



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                                       CONCLUSION

       For the foregoing reasons, the Court should grant Cynosure’s motion and strike the class

allegations in plaintiff’s Second Amended Complaint.

Dated: April 11, 2018                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed with the Clerk of the U.S. District Court

for the Northern District of Illinois, Western Division, using the Court’s CM/ECF system, and

that a copy was served via electronic means on April 11, 2018, upon all counsel of record

pursuant to the Northern District of Illinois General Order on Electronic Case Filing.

                                      By:    /s/ Emily Dillingham
